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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,               NO. CR. 2:11-00504 WBS
13             Plaintiff,
                                             ORDER
14        v.
15   JEWEL L. HINKLES, a.k.a.
     CYDNEY SANCHEZ,
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               Defendant.
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19                                ----oo0oo----
20             This matter is before the court on defendant’s appeal
21   from the Magistrate Judge’s Detention Order, (Docket No. 93),
22   revoking defendant’s pretrial release and ordering her to self-
23   surrender to the United States Marshal by December 10, 2012.
24   (Docket No. 94.)    The Magistrate Judge found, inter alia, that
25   there was probable cause to believe defendant violated the
26   conditions of pretrial release by committing the crime of
27   bankruptcy fraud in violation of 18 U.S.C. § 157.         See 18 U.S.C. §

28   3148(b)(1)(A).

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1                 The Magistrate Judge’s determination must be affirmed unless

2    “clearly erroneous or contrary to law.”      Coleman v. Schwarzenegger,

3    Civ. No. S-90-0520, 2008 WL 2468492, at *1 (E.D. Cal., N.D. Cal. June

4    17, 2008) (quoting Fed. R. Civ. Proc. 72(a)); see also 28 U.S.C. §

5    636(b)(1)(A).1    “A finding is ‘clearly erroneous’ when although there

6    is evidence to support it, the reviewing [body] on the entire evidence

7    is left with the definite and firm conviction that a mistake has been

8    committed.”    Leubner v. County of San Joaquin, Civ. No. 2:08-0853,

9    2012 WL 895430, at *1 (E.D. Cal. Mar. 15, 2012) (Burrell, J.) (quoting

10   Concrete Pipe & Prods. v. Constr. Laborers Pension Trust, 508 U.S.

11   602, 622 (1993)).

12                Thus, the Magistrate Judge’s determination must be affirmed

13   unless his determination of probable cause to believe defendant had

14   committed a state or federal crime while on pretrial release was

15   clearly erroneous or contrary to law.      “[P]robable cause means ‘fair

16   probability, not certainty or even a preponderance of the evidence.’”

17   United States v. Krupa, 658 F.3d 1174, 1177-78 (9th Cir. 2011)

18   (quoting    United States v. Gourde, 440 F.3d 1065, 1069 (9th Cir. 2006)

19   (en banc)).    “[W]hether there is a fair probability depends upon the

20   totality of the circumstances, including reasonable inferences, and is

21   a commonsense, practical question, for which [n]either certainty nor a

22   preponderance of the evidence is required.”       Id.   (internal quotation

23   marks omitted).

24                This court has reviewed the transcript of the hearing before

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                See also United States v. Curtis, 237 F.3d 598, 603 (6th
     Cir. 2001) (“[A] magistrate court’s probable cause determination in
27   the revocation context comprises a preliminary, non-dispositive matter
     under § 636(b)(1)(A), and a district court must apply a clearly
28   erroneous standard of review.”).

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1    the Magistrate Judge and the papers submitted by the parties, has

2    heard and considered the testimony of the witnesses, and concludes

3    that the Magistrate Judge did not commit clear error in finding

4    probable cause to believe that defendant committed bankruptcy fraud in

5    violation of 18 U.S.C. § 157.

6              The elements of bankruptcy fraud are: first, the defendant

7    devised or intended to devise a scheme or plan to defraud; second, the

8    defendant acted with the intent to defraud; third, the defendant’s act

9    was material (it had a natural tendency to influence, or was capable

10   of influencing the acts of an identifiable person, entity, or group);

11   and fourth, the defendant made a false or fraudulent representation,

12   claim or promise concerning or in relation to a proceeding under a

13   Title 11 bankruptcy proceeding to carry out or attempt to carry out an

14   essential part of the scheme.    Ninth Circuit Manual of Model Criminal

15   Jury Instructions, Instruction 8.11 (2010).    “[T]he crime of

16   bankruptcy fraud under 18 U.S.C. § 157 requires a specific intent to

17   defraud an identifiable victim or class of victims of the identified

18   fraudulent scheme.”    United States v. Milwitt, 475 F.3d 1150, 1156

19   (9th Cir. 2007).     A defendant may be found guilty of bankruptcy fraud

20   even if she personally did not commit the act or acts constituting the

21   crime, but aided and abetted in its commission if she “knowingly and

22   intentionally aided, counseled, commanded, induced or procured that

23   person to commit each element of” the fraud.    Ninth Circuit Manual of

24   Model Criminal Jury Instructions, Instruction 5.1 (2010).

25             The evidence shows that the LaMonicos contacted defendant,

26   who associated with the DLNET 1 Law Center, for assistance to avoid

27   losing their home.    Although there was some initial confusion at the

28   hearing as to when the LaMonicos first met with defendant, Theresa

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1    LaMonico clarified at the hearing that she and her husband, Richard

2    LaMonico, handed defendant a check for $750 on January 16, 2012.2      As

3    Mrs. LaMonico told an investigator with the Postal Inspection Service,

4    she and her husband met with defendant mid-January 2012 at which time

5    defendant told them she was filing a bankruptcy petition for the

6    LaMonicos in Nevada, or a ‘creditors filing’ as Mrs. LaMonico recalled

7    defendant describing the filing.   Theresa LaMonico reported that

8    defendant told her and her husband that she would be filing in Nevada

9    because it is sometimes easier to file out of state and that banks are

10   sometimes unaware of the filing.   Mrs. LaMonico also said that

11   defendant informed them that she had people in Nevada who would file

12   the petition for her.   Finally, Mrs. LaMonico explained that she and

13   her husband were relying on defendant’s expertise and deferred to her

14   decisions to prevent them from losing their residence.    They believed
15   the payments made to defendant and DLNET were for filing fees and
16   that they were not paying defendant for her services.          The day
17   after this meeting, January 17, 2012, an involuntary bankruptcy
18   petition was filed in Nevada under the name of Richard LaMonico.
19             As explained above, the LaMonicos gave the $750 check
20   to defendant for what they believed to be filing fees for the
21   Nevada bankruptcy petition or “creditors filing.”         They also sent
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               The confusion appears to stem from a report prepared by
23   the Postal Inspector, which suggests that the LaMonicos did not
     met with defendant until March 2012. (See Mot. for Revocation of
24   Release Ex. 4 at 2.) However, upon careful review of that
     report, it appears that the LaMonicos did not met with defendant
25   in the DLNET1 offices before that time, although they had spoken
     with her and met her at a different location previously. (See
26   id. at 36 (reporting that Theresa LaMonico stated that she must
     have first contacted defendant in April 2011); id. at 23
27   (reporting that Theresa LaMonico stated that she met with
     defendant by the intersection of Santa Monica and Sepulveda in
28   mid-January 2012).

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1    a $250 check dated February 27, 2012, and made out to DLNET 1
2    Center, to provide additional reimbursement for the same Nevada
3    filing.    However, the fees for the involuntary bankruptcy
4    petition filed in Nevada are only $306.00, not $1000.00.         The
5    $250 check was deposited into an account owned by defendant’s
6    husband.
7                Three material misrepresentations were made in the
8    involuntary bankruptcy petition: listing false aliases for
9    Richard LaMonico; providing fictitious creditors for Richard
10   LaMonico; and asserting venue to be proper in the District of
11   Nevada.    At the hearing, Mrs. LaMonico confirmed that her husband
12   used none of the aliases listed on the petition, that none of the
13   creditors listed were ever creditors of her husband, and that she
14   and her husband had never lived in nor had a business in Nevada.
15               Also at the hearing, the court was informed that
16   another associate of defendant’s at DL NET1 Law Center, Jerel
17   Davis, provided the money and the involuntary petition filed in
18   Richard LaMonico’s name to a woman in Las Vegas, who filed it
19   with the bankruptcy court there.       Given defendant’s
20   communications and relationship with the LaMonicos, there is
21   probable cause to believe that she was part of a scheme to file a
22   fraudulent bankruptcy petition to prevent the bank from
23   foreclosing on the LaMonicos’ property.       Specifically, Theresa
24   LaMonico explained that defendant told her that the purpose for
25   filing a bankruptcy in her husband’s name was “so that the
26   foreclosure proceedings would be halted”.
27               Counsel for defendant points the court to defendant’s
28   refusal to file a second bankruptcy for the LaMonicos in March

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1    2012.     Defendant’s refusal to personally file a bankruptcy
2    petition at a later time, however, does not attenuate the
3    evidence supporting the finding of probable cause to believe that
4    she had a role in the scheme to file the Nevada petition and
5    thereby defraud the LaMonicos’ creditors.
6                 From all the foregoing, there is probable cause to
7    believe that someone associated with the DL NET1 Law Center
8    devised a scheme or plan to defraud the bank out of its right to

9    foreclose on the LaMonicos’ property by intentionally making
10   false material representations in the bankruptcy petition, and that

11   defendant at the very least knowingly aided and abetted the filing

12   of that fraudulent petition.         Accordingly, the Magistrate Judge
13   did not commit clear error in finding probable cause to believe
14   that defendant violated 18 U.S.C. § 157 while on pretrial
15   release.3
16                IT IS THEREFORE ORDERED that the Magistrate Judge’s
17   Detention Order of December 6, 2012, be, and the same hereby is,
18   AFFIRMED.
19   DATED:     January 14, 2013

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               Because the court affirms the Magistrate Judge’s
27   determination on this ground, there is no need to discuss the
     other grounds upon which the Magistrate Judge based his
28   determination to revoke pretrial release.

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